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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


 HARRIS CORPORATION,

                        Plaintiff,

 v.                                                           Case No: 6:11-cv-618-Orl-41KRS

 RUCKUS WIRELESS, INC.,

                        Defendant.
                                             /

                                             ORDER

        THIS CAUSE is before the Court on the Joint Stipulation for Entry of Final Order of

 Dismissal (Doc. 315). Pursuant to Federal Rule of Civil Procedure 41, it is ORDERED and

 ADJUDGED as follows:

            1. This action is hereby DISMISSED with prejudice; and

            2. The parties shall bear their own attorneys’ fees and costs.

        DONE and ORDERED in Orlando, Florida on September 11, 2015.




 Copies furnished to:

 Counsel of Record




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